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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


BENNIE G. THOMPSON et al.,


       Plaintiffs,
                                              Civil Case No. 1:21-cv-00400 APM
              v.


DONALD J. TRUMP et al.,


       Defendant.


                                  NOTICE OF APPEAL

      Defendant Donald J. Trump hereby gives notice of his appeal to the United

States Court of Appeals for the D.C. Circuit from this Court’s Memorandum Opinion

and Order entered on February 18, 2022, denying Defendant’s Motion to Dismiss,

particularly with respect to his defense of Absolute Immunity. (Dkt. No. 66).


Dated: March 18, 2022                        Respectfully submitted,

                                             /s/ Jesse R. Binnall
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                              CERTIFICATE OF SERVICE


      I certify that the foregoing was electronically filed with the Clerk of the Court

using the Court’s CM/ECF system, which will cause a copy to be sent to all counsel of

record.



Dated: March 18, 2022                         /s/ Jesse R. Binnall
                                              Jesse R. Binnall

                                              Counsel for President Donald J. Trump
